          Case 1:23-cr-00177-ABJ Document 31 Filed 12/21/23 Page 1 of 3




                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA


 UNITED STATES OF AMERICA

                v.                                       CRIMINAL NO. 23-cr-177-ABJ

 SHANE BRIAN LAMOND,

                Defendant.


                     GOVERNMENT NOTICE OF EXPERT WITNESS

       Although the Court’s scheduling order (ECF No. 21) does not contain a deadline for

noticing an expert witness, in accordance with Federal Rule of Criminal Procedure 16(a)(1)(G),

the Government intends to notice Senior Digital Forensic Examiner Jennifer Kathryn Cain to

testify about evidence seized from two digital devices: 1) Enrique Tarrio’s cellular phone identified

by telephone number (786) 961-6789 and IMEI number 353891104722470; and 2) the

Defendant’s cellular phone identified by telephone number (202) 437-0434 and IMEI number

356450107630375. The Government has previously provided all evidence related to these devices

to the Defendant through discovery.

       The Government intends to seek to qualify Examiner Cain as an expert in the field of digital

forensic analysis and to have Examiner Cain offer background testimony about how data is

extracted, processed, and analyzed from digital devices, and then to offer testimony about

conclusions she drew about a limited subset of the electronic evidence in this case, including if

and when data was deleted from a device. Although electronic evidence seized from digital

devices is admissible through lay/fact witness testimony by FBI special agents or Examiner Cain

who extracted, located, and/or reviewed this evidence, the Government intends, out of an

abundance of caution, to provide expert notice. See United States v. Berry, 318 Fed. Appx. 569,


                                                 1
          Case 1:23-cr-00177-ABJ Document 31 Filed 12/21/23 Page 2 of 3




570 (9th Cir. 2009) (agent’s testimony was not expert testimony because the agent “simply testified

to what he found on the [defendant’s] hard drive…, without expressing an opinion that required

specialized knowledge or offering insight beyond common understanding”) (citing Fed. R. Evid.

702).

        The Government, unless otherwise directed by the Court, will file a more specific notice

regarding the limited subset of electronic evidence about which we expect Examiner Cain to testify

on or before January 19, 2024, the deadline for the Joint Pretrial Statement.



                                              Respectfully submitted,

                                              MATTHEW M. GRAVES
                                              UNITED STATES ATTORNEY
                                              D.C. Bar No. 481052


                                              By:    ___/s/ Rebecca G. Ross___
                                                     Rebecca G. Ross
                                                     N.Y. Bar Number 5590666
                                                     Joshua S. Rothstein
                                                     N.Y. Bar Number 4453759
                                                     Assistant United States Attorneys
                                                     601 D Street, N.W.
                                                     Washington, D.C. 2053
                                                     202-252-7164 (JSR), 202-252-6937 (RR)
                                                     Rebecca.Ross2@usdoj.gov
                                                     Joshua.Rothstein@usdoj.gov




                                                 2
          Case 1:23-cr-00177-ABJ Document 31 Filed 12/21/23 Page 3 of 3




                                CERTIFICATE OF SERVICE

Rebecca G. Ross, attorney for the United States, hereby certifies that a true and correct copy of
the motion has been electronically served on attorney for the defendant.

                                             /s/ Rebecca G. Ross
                                             Rebecca G. Ross




                                                 3
